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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
EDP                                                 271 Cadman Plaza East
F. #2018R02250                                      Brooklyn, New York 11201


                                                    January 24, 2022

By E-mail and ECF

The Hon. Nicholas Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Mackey, 21-CR-80 (NGG)

Dear Judge Garaufis:

               The government writes on behalf of the parties in response to the Court’s
January 18, 2022 Order requesting that the parties advise the Court of their availability for a
June, July or August trial date. For the reasons noted below, the parties do not believe that
trial can be scheduled during that time period.

                On November 10, 2021, the Court set a two-stage briefing schedule for the
defendant’s motion for a bill of particulars and motion to dismiss. In light of the briefing
dates set by the Court, the parties do not expect to receive a ruling from the Court until
approximately May/June 2022. Given that briefing schedule, and given that defense counsel
has a lengthy trial scheduled for July 2022 in Los Angeles, California, the parties do not
believe that trial can be scheduled in the instant matter between June and August 2022.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                            By:         /s/
                                                    Erik D. Paulsen
                                                    Assistant U.S. Attorney
                                                    (718) 254-6135

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